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Revised 03/06 wDNY                        UNITED STATES DISTRICT COURT                                   r5?:?S|WiNGy3>l;
                                         WESTERN DISTRICT OF NEW YORK                                   '"^SiVDlSTRlCT
                                   FORM TO BE USED IN FILING A COMPLAINT
                                 UNDER THE CIVIL RIGHTS ACT,42 U.S.C. § 1983
                                          (Prisoner Complaint Form)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacv Notice for further information.

                                                    1. CAPTION OF ACTION                         18 CV 64 01 GVS
A.       Full Name And Prisoner Number of Plaintiff: NOTE; If more than one plaintifffiles this action and seeks in forma
pauperis status, each plaintiff must submit an in forma pauperis application and a signed Authorization or the only plaintiff to be
considered will be the plaintiff who filed an application and Authorization.

1.                                                 ^
2.
                                                                 -VS-

B.       FullName(s) ofDefendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names ofall parties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Ifyou have more than six defendants,
vou may continue this section on another sheet ofpaper ifyou indicate below that you have done so.
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                                             2. STATEMENT OF JURISDICTION


This is a civil action seeking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the
United States. This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction over the action pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4), and 2201.


                                                3. PARTIES TO THIS ACTION

PLAINTIFF'S INFORMATION NOTE: To list additional plaintiffs, use thisformat on another sheet ofpaper.

Name and Prisoner Number ofPlaintiff:                                          Kev\rlv" 1 cK ^ ('^3c/og'5'
Present Place of Confinement & Address:            U5         /4Hpv\Wi?g/A           U. • 5
     f.o.            ypOb             WU(.-V--e^                  V   '^A         j 7 yg"7.

Name and Prisoner Number ofPlaintiff:
Present Place of Confinement & Address:_
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DEFENDANT'S INFORMATION NOTE: To provide informaiion about more defendants than there is room for here, use this
format on another sheet ofpaper.
Name of Defendant: /A (\-T \s o\           \/a <. ujtA-?            I             pAfe         Heti -
(If applicable) Official Position of Defendant:
(If applicable) Defendant is Sued in      y Individualf^^or X Official Capacip'
Address ofDefendant: 150               y'^l^iwcaU\ Ai/e.           ,-r I^S' ^xtiUe^^ex e. ^ii/A . . VuUUe
                  ulV (j-


Name of Defendant:_                                 icX.             Pfc.?siUA yge-Vi^-eJi: voXIar gir r-ed-e^ral
(If applicable) Official Position of Defendant: i^or,l^<V-p,ir SPAu'-c                   <> „^'V       S-e.^r o.j> a               OZfJS
(If applicable) Defendant is Sued in X. Individuatand^or X Official Capacity
Address ofDefendant: )XQ 5- fi^vwoutU                    or /X? Ekr}r\.<xv\<Kj>.                                       .X'^^Uiic
                                . V^oc-U-P^siXY- . A/.V.                         Cof

Name of Defendant:           cUa < A.          ScU.-f{(                   Xpe:i?iV)\i^ g                               Acv/J
(If applicable) Official Position of Defendant.Xocl/^,e,siA>r                                      O+^/is&^r .
(If applicable) Defendant is Sued in X Individua](^H)'or X Official Capacity
Address ofDefendant: )^0 $. V^l iai-a.-.^cHa            . \ or-                                                    Vgli/,j.,
                  ViuAcUvoa ^ l^ocVve^ev-                    A/y.               (^or 99 ^xckaAi^e l^li/cl. )
     A/crte • TWy                            Ka5> V>eew CoA~irtv^u.eA cv\ fivvefke*' $fie.e:V                                  fo-ipeY -

                            4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT


A.      Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
                 Yes         No V         /-fc uy-eiz-ev.^   fX~                 XlAiA             a       A/af i't-e-    of
               fc       Xd-Pt    rt.                   wrX         AUy-   A/ew Xjv'VC C"oo/\ af Cjctivw-S.
If Yes, complete the next section. NOTE:Ifyou have brought more than one lawsuit dealing with the samefacts as this
action, use thisformat to describe the other action(s) on another sheet ofpaper.
1.       Name(s) of the parties to this other lawsuit:
        Plaintiffs):__
        Defendant(s):


        Court (if federal court, name the district; if state court, name the county):_


j.      Docket or Index Number:

4.      Name of Judse to whom case was assigned:_
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5.     The approximate date the action was filed:_
6.     "What was the disposition of the case?
               Is it still pending? Yes      No
                       If not, give the approximate date it was resolved.                                              —
                Disposition (check the statements which apply);
                     Dismissed (check the box which indicates why it was dismissed):
                                   By court sua sponte as frivolous, malicious or for failing to state a claim
                                   upon which relief can be granted;
                                   By court for failure to exhaust administrative remedies;
                                   By court for failure to prosecute, pay filing fee or otherwise respond to a court
                                   order;

                                   By court due to your voluntary withdrawal of claim;
                       Judgment upon motion or after trial entered for
                                 plaintiff
                                 defendant.


 B       Have you begun any other lawsuits in federal court which relate to your imprisonment?
                 Yes             No X-
 TfVes. complete the next section. NOTE: Ifyou have brought more than one other lawsuit dealing withyour imprisonment,
 use this sameformat to describe the other action(s) on another sheet ofpaper.
 1.      Name(s)of the parties to this other lawsuit:
                 Plaintiff(s):


                 Defendant(s):_



 2.      District Court:
 3.      Docket Number:
 4.      Name of District or Magistrate Judge to whom case was assigned:.

 5        The approximate date the action was filed:_
 6.       What was the disposition of the case?
                  Is it still pending? Yes        No
                           If not, give the approximate date it was resolved._
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                  Disposition (check the statements which apply):
                       Dismissed (check the box which indicates why it was dismissed):
                                   By court sm sponte as fnvolous, malicious or for failing to state a claim
                                   upon which relief can be granted;
                                   By court for failure to exhaust administrative remedies;
                                   By court for failure to prosecute, pay filing fee or otherwise respond to a court
                                   order;
                                   By court due to your voluntary withdrawal of claim;
                        Judgment upon motion or after trial entered for
                                plaintiff
                                defendant.




                                                5. STATEMENT OF CLAIM

For your information, the following is a list ofsome ofthe most frequently raised grounds for reliefin proceedings under 42
U.S.C. § 1983. (This list does not include aU possible claims.)

                 • Religion                 • Access to the Courts            • Search «& Seizure
                 • Free Speech              • False Arrest                    • Malicious Prosecution
                 • Due Process              • Excessive Force                 • Denial of Medical Treatment
                 • Equal Protection         • Failure to Protect              • Right to Counsel

Please note that it is not enough to just list the ground(s)for your action. You must include a statement ofthe facts which
you believe support each of your claims. In other words,tell the story of what happened to you but do not use legaljargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function ofpleadings under the Federal Rules is to give fair notice ofthe claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo.49 F.3d 83,86(2d Cir. 1995).
Fed.R.Civ.P. 10(b) states that "[a]ll averments of claim... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances."


                                            Exhaustion of Administrative Remedies


Note that according to 42 U.S.C. § 1997e(a),"[n]o action shall be brou^t with respect to prison conditions under section
1983 ofthis title, or any other Federal law,by a prison er confined in anyjail, prison, or other correctional facility until such
administrative remedies as are available are exhausted."

You must provide information about the extent of your efforts to grieve, appeal, or otherwise exhaust your administrative
remedies, and you must attach copies of any decisions or otlier documents which indicate that you have exhausted your
remedies for each claim you assert in this action.

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A. FIRST CLAIM: On (date of the incident)                                  Aut^u^ I.               fl■v^dl Co»^Kv^at✓>a
                                                      a>\S u^v^iv          J^e'Vvw.o-vy \ ^ "Z-oo t.                              ^
defendant (give the name and position held of each defendant involved in tms incident)
 Vat.             RoU-e^ •■) Sajr.                        /ftfl-j-t iViA     0-ff(c^v-                         SeUe-U r^ckVlQ •.
 O-iVfr-evr £. To\r/'es t Offfrev                   N •'fo \r r-t.'^        C>-ff(c€v HaviA i <;e,k-fea)eY- t, CMy/rftv-
did the following to me (briefly state what each defendant named above did): WUsl-ft^                                 ha         ecu
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rKv^A                       AA/i       AV)£-l"t'-€-<A        &(xcU          r4i\ p-v       j;j2    dn         wK At"ev-ftv            u/a^
 yxA,C-P,5S            .    Uu4ul          S2JC            y io                                                                        4-.
The constitutional basis for this claim under 42 U.S.C, § 1983 is:           ft A<t     HZ.U.9.C. ^ 11^5 t
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The relief I am seeking for this claim is (briefly state the relief sought):          C-o vw f r v\ s a'ta v               c:(
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 ^vv^Oa av\.A OA y)A\rcl-0 Super\/i$io/> .                                                 Au/'-<?SS gAtk me^c\\ an^utjlv.
                              Exhaustion of Your Administrative Remedies for this Claim:

Did you grieve or appeal this claim? Yes    No If yes, what was the result? 'fit p. coav/ (cij v'c a
wc^s t/gcecigfl AAtf rp,w\.\-kV-feA •^ov- -Vuv-jU-e^ y)vcc-e-e^VAA';                    > A I ctvvi-e.1^
Did you appeal that decision?               Yes            No If yes, what was the result?


                      Attach copies of any documents that indicate that you have exhausted this claim.
If you did not exhaust your administrative remedies, state why you did not do so:


  A/cf-^ '                  5eci:t<?A         Ka?       loeeA        coAiriAued            oa     andHaer sle-^

A. SECOND CLAIM: On (dale of the incident)                   /tjaty        H .    "2,000
defendant (give the name and position held of each defendant involved in this incident) 5a"h.                        o Ip e^r'V)
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        a.   vtAaa^vA •-                            ^ocU-esrVeyr.
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did the following to me (briefly state what each defendant named above did);
         -^ovc-ec -        wl-bVv                                                 tAvfi         <'x<r>r-p-st         -fUiS
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                 wUe.       r.A.oL$-e.^    -^iie i^/rcv\a^\ Kn^w flIooi-'-i'' lii£            bi=£t_
The constitutional basis for this claim under 42 U.S.C. § 1983 is: v/ (ci              v\a^                    fo^ArWA
                                     fouA-e,^<rMrs        /)              P        f                     5(^>rcU ^ 5e;2-u^f
The relief I am seeking for this claim is (briefly state the relief sought): Covwy? pw^acfor^^                           <^>^4
  \paA'v'^^v-&        rJavwix^P-S .                   ^         y?<\AA^>wfcvv^          "^ev        4iip^
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                             Exhaustion of Your Administrative Remedies for this Claim:

Did you grieve or appeal this claim? X Yes                     No If ves. what was the result?        -C 4 c v/<, c±i ClA
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Did you appeal that decision?            Yes          No If yes, what was the result?

                      Attach copies of any documents that indicate that you have exhausted this claim.
If you did not exhaust your administrative remedies, state why you did not do so:

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If you have additional claims, use the above format and set them out on additional sheets of paper.

                                                   6. RELIEF SOUGHT

                          Summarize the relief requested by you in each statement of claim above.




Do you want a jury trial? Yes ^ No_
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                Case 6:18-cv-06401-CJS Document 1 Filed 05/31/18 Page 14 of 25




I declare under penalty of perjury that the foregoing is true and correct.
Executed on    f^a u. '2^^         2—0\^
                    ^                (date)
NOTE: Each plaintiff must sign this complaint and must also sign all subsequent papersfiled with the Court.


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                                                               Signature(s) of Plaintiff(s)
Case 6:18-cv-06401-CJS Document 1 Filed 05/31/18 Page 15 of 25




      " EXHIBIT -f\ "




      " EXHIBIT - A "
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                   Case 6:18-cv-06401-CJS Document 1 Filed 05/31/18 Page 16 of 25
       Case 6:18-cv-06401-CJS Document 1 Filed 05/31/18 Page 17 of 25
        SUPREME COURT OF THE STATE OF NEW YORK
             Appellate Division, Fourth Judicial Department

1225
KA 02-00049
PRESENT: SMITH, J.P., PERADOTTO, LINDLEY, DEJOSEPH, AND SCUDDER, JJ.


THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,

                      V                                  MEMORANDUM AND ORDER

JAMES KENDRICK, DEFENDANT-APPELLANT.



TIMOTHY P. DONAHER, PUBLIC DEFENDER, ROCHESTER (JAMES A. HOBBS OF
COUNSEL), FOR DEFENDANT-APPELLANT.

JAMES KENDRICK, DEFENDANT-APPELLANT PRO SE.

SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (LEAH R. MERVINE OF
COUNSEL), FOR RESPONDENT.


     Appeal from a judgment of the Supreme Court, Monroe County
(Kenneth R. Fisher, J.), rendered February 1, 2001. The appeal was
held by this Court by order entered May 8, 2015, decision was reserved
and the matter was remitted to Supreme Court, Monroe County, for
further proceedings (128 AD3d 1482).       The proceedings were held and
completed.

     It is hereby ORDERED that the judgment so appealed from is
unanimously reversed on the law, the plea is vacated, that part of the
motion seeking to suppress physical evidence from the vehicle is
granted, and the matter is remitted to Supreme Court, Monroe County,
for further proceedings on the indictment.

     Memorandum: Defendant appeals from a judgment convicting him,
upon his plea of guilty, of criminal possession of a controlled
substance in the second degree (Penal Law § 220.18 [1]). When this
appeal was previously before us, we concluded that, as the People
correctly conceded. Supreme Court (Fisher, J.) erred in determining
that defendant lacked standing to challenge the legality of the police
search of a vehicle in which a large quantity of cocaine was found in
the back seat {People v Kendrick, 128 AD3d 1482, 1482-1483).            We
further concluded that the error was not harmless because there was a
reasonable possibility that the error contributed to defendant's
decision to plead guilty. Upon remittal, the court (Winslow, J.)
conducted a suppression hearing, following which it refused to
suppress the cocaine, ruling that the People proved that the driver of
the vehicle voluntarily consented to the search of the vehicle, and
that the warrantless search was therefore lawful.         We now reverse.

    "It is the People's burden to establish the voluntariness of
       Case 6:18-cv-06401-CJS Document
                                    -2-1 Filed 05/31/18 Page 18 of 25   1225
                                                                 KA 02-00049


defendant's consent, and that burden is not easily carried, for a
consent to search is not voluntary unless 'it is a true act of the
will, an unequivocal product of an essentially free and unconstrained
choice.    Voluntariness is incompatible with official coercion, actual
or implicit, overt or subtle' " {People v Packer, 49 AD3d 184, 187,
affd 10 NY3d 915, quoting People v Gonzalez, 39 NY2d 122, 128). "An
important, although not dispositive, factor in determining the
voluntariness of an apparent consent is whether the consenter is in
custody or under arrest, and the circumstances surrounding the custody
or arrest" {Gonzalez, 39 NY2d at 128).

     Here, defendant was a front seat passenger in the vehicle in
which the cocaine was found by the police.        The only other occupant
was the driver, who owned the vehicle and consented to the police
search. At the suppression hearing, the sole witness called by the
People was the police officer who obtained consent to search from the
driver. That officer acknowledged, however, that she was not involved
in the stop of the vehicle and did not know the basis for the stop.
She was unaware whether the driver committed any traffic infractions
and did not know why the driver was taken into custody. According to
the officer, she came into contact with the driver in an interview
room at the police station at approximately 8:00 p.m., which was more
than 4% hours after the vehicle was stopped. The officer did not know
who, if anyone, had questioned the driver before she entered the
interview room; did not know whether anyone had advised him of his
Miranda rights; did not know whether he had been handcuffed prior to
her arrival; did not know whether he had been given any food or drink;
and did not know whether he had been allowed to make any telephone
calls. The officer merely testified that the driver spontaneously
told her during the interview that there was cocaine in the back seat
of his vehicle, and that he then voluntarily consented to the search
by signing a consent to search form.

     We conclude that, "[bjecause the People failed to present
evidence at the suppression hearing establishing the legality of the
police conduct, [the driver's] purported consent to the search of his
vehicle was involuntary[,] and all evidence seized from the vehicle as
a result of that consent should have been suppressed" {People v Purdy,
106 AD3d 1521, 1523; see Packer, 49 AD3d at 187-189). We therefore
reverse the judgment, vacate the plea, grant defendant's omnibus
motion insofar as it sought suppression of the cocaine found in the
vehicle, and remit the matter to Supreme Court for further proceedings
on the indictment.

     In light of our deteinnination, we do not address the contention
raised by defendant in his pro se supplemental brief.




Entered:   February 3, 2017                           Frances E. Cafarell
                                                      Clerk of the Court
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 1      STATE OF NEW YORK


 2      COUNTY OF MONROE              COUNTY COURT


 3                                                      -X



 4      THE PEOPLE OF THE STATE OF NEW YORK,                  IND # 2000-0345B


 5      -vs-                                                     DISMISSAL


 6      JAMES D. KENDRICK,

 7                             Defendant.
                                                        -X

 8
                                              Hall of Justice
 9                                            Rochester, New York       14614
                                              May 25, 2017
10


11      BEFORE:


12 ■               HONORABLE MELCHOR E. CASTRO,

13                                         Acting County Court Judge

14      APPEARANCES:


15                 SANDRA DOORLEY, ESQ.
                   District Attorney - County of Monroe
16                 47 South Fitzhugh Street
                   Rochester, New York 14614
17                 Appearing for the People of the State of New York
                   By:   GREGORY CLARK, ESQ.
18                       Assistant District Attorney

19                 LAWRENCE KASPEREK, ESQ.
                   Attorney for the Defendant
20
                   JAMES D. KENDRICK
21                 Defendant


22


23


24                                              CAROL P. RAES, C.S.R.
                                                Senior Court Reporter
25
      Case 6:18-cv-06401-CJS Document 1 Filed 05/31/18 Page 20 of 25




 1           (Defendant was brought into the courtroom.)

 2                        THE COURT:    All right.    This is James Kendrick

 3           appearing with Mr. Kasperek, and Mr. Clark appears on

 4           behalf of the People.

 5                        Yesterday, we talked about the fact that ABDM

 6           was reporting six counts in the indictment, and I was

 7           questioning whether Judge Winslow had already dismissed

 8           one coimt.    Anybody have any information about that?

 9                        MR. CLARK:    I actually sort of stopped looking

10           into all of that after my office made a different

11           determination.    As I indicated to your Honor and to

12'          counsel yesterday, after our court appearance, I went

13           back to the office.     My office met with AUSA Andy

14           Rodriguez.    We had some further discussions about the

15           merits of this case, the equities involved, and due to

16           the fact that the defendant is now serving three life

17           sentences after federal convictions, I don't believe this

18           conviction would have any impact on that either way.

19                        It's my understanding this case was still

20           pending appeal when he was sentenced by Judge Geraci on

21           the federal matter, and Judge Geraci specifically

22           excluded this conviction from that consideration so it

23           was not considered as far as points, and so on, and so

24           forth.   So due to that, at this point, the People are

25           moving to withdraw these charges and dismiss the case in
      Case 6:18-cv-06401-CJS Document 1 Filed 05/31/18 Page 21 of 25




 1           the interest of justice, and given that, I did not

 2           further inquire as to which counts were still active.
 3                        THE COURT:    You're moving to withdraw all the

 4           counts of the indictment?

 5                        MR. ClARK:    Yes.

 6                        THE COURT:    Okay.   Mr. Kasperek?

 7                        MR. KASPEREK:    Just two things. Judge.        First

 8           of all, we appreciate the government's application

 9           regarding the circumstances.       We would join in that.      We

10           would appreciate that all of Mr. Kendrick's property that

11           was seized from him at the time, obviously nothing that

12-          involves contraband, would be returned to him.            Because

13           the indictment is being dismissed, that means the record

14           is going to be sealed, and as you know, there are

15           consequences regarding his initial conviction or arrest

16           regarding this, so we would appreciate the sealing order

17           would include his removal of DNA or any records from the

18           CODIS file regarding this specific charge.

19                        THE COURT:   Mr. Clark?

20                        MR. KASPEREK:    Just one Other thing, I

21           apologize.    As you know, as a consequence of the

22           conviction, there were surcharges that were imposed upon

23           my client as a consequence of that.        Because of the

24           motion by the government and our joining in that, those

25           surcharges should be returned to him as well.
      Case 6:18-cv-06401-CJS Document 1 Filed 05/31/18 Page 22 of 25
                                                                               4




 1                         THE COURT:   They have already been paid?

 2                         MR. KASPEREK:   Yes, they have been paid.

 3                         THE COURT:   All right.   Anything you want to

 4           say, Mr. Clark?

 5                         MR. CLARK:   Only thing I can possibly address

 6           is just the property.      I will look into that.         This was

 7           17 years ago, so I don't know what the retention policies

 8           are as far as his personal property, but I will look into

 9           that, and hopefully, if it's still there, I'll return it

10           to him.

11                         MR. KASPEREK:   The property may have been,

12-          because of the federal charges, may have moved over to

13           the federal side.     I don't know, but they may have moved

14           some stuff back and forth.      We appreciate his efforts to

15           look into what's going on.

16                         MR. CLARK:   I can't sign on anything held by

17           the federal authorities, only the local holds.

18                         MR. KASPEREK:   We appreciate that.         Thank you.

19                       THE COURT:     All right.   People having moved to

20           withdraw the indictment, I will dismiss all counts of the

21           indictment.


22                       MR. KASPEREK:     Thanks, Judge.     Finally, in

23           light of the circumstances, my client should be returned

24           to BOP.


25                       THE COURT:     To VOP?
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 1                        MR. KASPEREK:    BOP, Bureau of Prisons.

 2                        THE COURT:   That's scheduled for later this

 3           week, I think.

 4                        MR. CLARK:   Tomorrow, my understanding is.

 5                        MR. KASPEREK:    Just making sure there is no

 6           delay regarding that circumstance.

 7                        MR. CLARK:   When I spoke with the jail, they

 8           told me he was scheduled to go back tomorrow morning.

 9                        MR. KASPEREK:    That sounds likely.     Thanks

10           very much.

11           (Proceedings concluded.)

12-


13     CERTIFIED TO BE A TRUE AJSTD ACCURATE TRANSCRIPT

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16     CAROL P. RAES, C.S.R., Senior Court Reporter

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        JS44 (Rev. 06/17)                                                               CIVIL COVER SHEET
        The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other jfapers as requirj By lay, except as
        provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for thduse oftheir^ fCotyt for the
        purpose ofinitiating the civil docket sheet. (SEEINSTRUCTIONS ON NEXTPAGE OF THIS FORM.)                                                                                    1

        I. (a) PLAINTIFFS                                                                                                      DEFENDANTS

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           (b) County of Residence of First Listed Plaintiff                    _Uk\tQV\                                       Cotmty of Residence of First Listed Defendant                       anvo e
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                                                                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                          THE TRACT OF LAND INVOLVED.


           (c) Attorneys (Firm Name, Address, and Telephone Number) ^'CO S                                                     Attorneys (IfKnown)
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        II. BASIS OF JURISDICTION (Place an "X"in One Box Only)                                               III.    CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor Plaintiff
                                                                                                                          (For Diversity Cases Only)                                             and One Boxfor Defendant)
              1    U.S. Government
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        IV. NATURE OF SUIT (Place an 'X" in One Box Only)                                                                                                       Click here for: Nature of Suit Code Descrimions.
    1                  CONTRACT                                                TORTS                                   FORPEITURE/PENALTY                           BANKRUPTCY                        OTHER STATUTES               1

        0 110 Insurance                            PERSONAL INJURY                   PERSONAL INJURY                 □ 625 Drug Related Seizure          □ 422 Appeal 28 USC 158                □ 375 False Claims Act
        0 120 Marine                            D 310 Airplane                    □ 365 Personal Injury -                   of Property 21 USC 881       □ 423 Withdrawal                       D 376 QuiTam{31USC
        a 130 Miller Act                        0 315 Airplane Product                  Product Liability            O 690 Other                                    28 USC 157                          3729(a))
        □ 140 Negotiable Instrument                       Liability               □ 367 Health Care/                                                                                            0 400 State Reapportionment
        0 150 Recovery of Overpayment           0 320 Assault, Libel &                   Pharmaceutical                                                       PROPERTY RIGHTS                   n 410 Antitrust
                   & Enforcement of Judgment              Slander                        Personal Injury                                                 0 820 Copyrights                       □ 430 Banks and Banking
        O 151 Medicare Act                      0 330 Federal Employers'                 Product Liability                                               O 830 Patent                           □ 450 Commerce
        0 152 Recovery of Defaulted                   Liability                  □ 368 Asbestos Personal                                                 □ 835 Patent - Abbreviated             □ 460 Deportation
                   Student Loans                0 340 Marine                              Injury Product                                                         New Drug Application           □ 470 Racketeer Influenced and
                   (Excludes Veterans)          0 345 Marine Product                      Liability                                                      0 840 Trademark                                Corrupt Organizations
        □ 153 Recovery of Overpayment                     Liability                PERSONAL PROPERTY                              LABOR                      SOCIAL SECURITY                    □ 480 Consumer Credit
                   of Veteran's Benefits        0 350 Motor Vehicle              D 370 Other Fraud                □ 710 Fair Labor Standards             D 861 HIA(1395ff)                      D 490 Cable/Sat TV
        □ 160 Stockholders' Suits               □ 355 Motor Vehicle              □ 371 Truth in Lending                     Act                          □ 862 Black Lung (923)                 □ 850 Securities/Commodities/
        O 190 Other Contract                           Product Liability         □ 380 Other Personal             0 720 Labor/Management                 □ 863 DIWC/DIWW (405(g))                       Exchange
        □ 195 Contract Product Liability        □ 360 Other Personal                     Property Damage                    Relations                    O 864 SSID Title XVI                   0 890 Other Statutory Actions
        □ 196 Francliise                               Injury                    □ 385 Property Damage            □ 740 Railway Labor Act                0 865 RSI {405(g))                     0 891 Agricultural Acts
                                               O 362 Personal Injury -                   Product Liability        □ 751 Family and Medical                                                      0 893 Environmental Matters
                                                       Medical Malpractice                                                  Leave Act                                                           D 895 Freedom of Information
1                  REAL PROPERTY                    CIVIL RIGHTS                  PRISONER PETITIONS              □ 790 Other Labor Litigation               FEDERAL TAX SUITS                          Act
    □ 210 Land Condemnation                    □ 440 Other Civil Rights              Habeas Corpus:               □ 791 Employee Retirement              □ 870 Taxes (U.S. Plaintiff            □ 896 Arbitration
    □ 220 Foreclosure                          O 441 Voting                      0 463 Alien Detainee                       Income Security Act                  or Defendant)                  □ 899 Administrative Procedure
    □ 230 Rent Lease & Ejectment               O 442 Employment                  □ 510 Motions to Vacate                                                 □ 871 IRS—Third Party                         Act/Review or Appeal of
    □ 240 Torts to Land                        □ 443 Housing/                            Sentence                                                                26 USC 7609                           Agency Decision
    □ 245 Tort Product Liability                       Accommodations            0 530 General                                                                                                  □ 950 Constitutionality of
    0 290 All Otlier Real Properly             0 445 Amer. w/Disabilities -      □ 535 Death Penalty                        IMMIGRATION                                                                State Statutes
                                                       Employment                   Other:                        O 462 Naturalization Application
                                               □ 446 Amer. w/Disabilities -      □ 540 Mandamus & Other           □ 465 Other Immigration
                                                       Other                     yC 550 Civil Rights                        Actions
                                               □ 448 Education                   □ 555 Prison Condition
                                                                                 □ 560 Civil Detainee -
                                                                                         Conditions of
                                                                                         Confinement

V, ORIGIN (Place an "X" in One Box Only)
          1       Original           □ 2 Removed from                 D    3    Remanded from                □ 4 Reinstated or          O 5 Transferred from              O 6    Multidistrict            O 8 Multidistrict
                  Proceeding               State Cotirt                         Appellate Court                   Reopened                      Another District                 Litigation -                   Litigation -
                                                                                                                                  (specify)                       Transfer                                     Direct File
                                                   Cite the U.S. Civil Statute tmder which you are filing (Do not cite jurisdictionalstatutes unless diversity):,
VI. CAUSE OF ACTION
                                                     ''HH.            U.S. C. § 19^3 . C,V.\ KItxU+s                                                                 ...A                 U.5XZ. §
                                                   Brief description of cause:
                                                     VtcUVoyv.                      pue                                                  SearcVv ^ 3g.izuve.' faUf.                                                 /^aUcIomS-
VII. REQUESTED IN                                  □ CHECK IF THIS IS A CLASS ACTION                                   DEMAND $                                      CHECK              only if demanded in complaint:
                   COMPLAINT:                              UNDER RULE 23,F.R.Cv.P.                              f lO^OOQ ^000                                        JURY DEMAND:                     [Yes          □ No

VIII. RELATED CASE(S)
                                                       (See instructions):
                   IF ANY                                                        JUDGE                                                                       DOCKET NUMBER

DATE                                                                                SIGNATURE OF ATTORNEY OF RECORD


        CL.       A.               Z2. ^TLOtS'                                                                                                                       ''a
                                                                                                                                                                          Viro
                                                                                                                                                                                         ^
FOR OFFICE USE ONLY

         RECEIPT #                         AMOUNT                                       APPLYING IFP                                         JUDGE                               MAG. JUDGE
                     Case 6:18-cv-06401-CJS Document 1 Filed 05/31/18 Page 25 of 25

JS 44 Reverse (Rev.06/17)


                   INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the infonnation contained herein neither replaces nor supplements the filings and service of pleading or other papers m
required by law,except as provided by local rules of court. This form,approved by the Judicial Conference of the United States in September 1974,is
required for the use ofthe Clerk of Court for the purpose ofinitiating the civil docket sheet. Consequently,a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows;

I.(a) Plaintiffs-Defendants. Enter names (last, fust, middle initial) ofplaintiff and defendant. Ifthe plaintiffor defendant is a government agency, use
      only the full name or standard abbreviations. Ifthe plaintiff or defendant is an official within a government agency,identify first the agency and
        then the official, giving both name and title.
 (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name ofthe county where the first listed plaintiff resides at the
     time offiling. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time offiling. (NOTE:In land
        condemnation cases, the county of residence ofthe "defendant" is the location of the tract ofland involved.)
 (c) Attorneys. Enter the firm name,address,telqihone number,and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
        in this section "(see attachment)".

II.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a),F.R.Cv.P., which requires thatjurisdictions be shown in pleadings. Place an "X"
        in one ofthe boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United States are included here.
         United States defendant. (2)When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3)This refers to suits under 28 U.S.C. 1331, wherejurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty ofthe United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence,and box I or 2should be marked.
         Diversity of citizenship. (4)This refers to suits under 28 U.S.C. 1332,where parties are citizens ofdifferent states. When Box 4 is checked,the
         citizenship ofthe different parties must be checked. (See Section IB below; NOTE:federal question actions take precedence over diversity
         cases.)

m. Residence(citfzenshlp)ofPrincipal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

rv.      Nature of Suit Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one ofthe seven boxes.
         Original Proceedings. (1)Cases which originate in the United States district courts.
         Removed from State Court. (2)Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.                                                                                      u r-r
         Remanded from Appellate Court. (3)Check this box for cases remanded to the district court for further action. Use the date ofremand as the filmg
         date
         Reinstated or Reopened. (4)Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5)For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.                                                                                                r-r i ooTTor«
         Multidistrict Litigation - Transfer. (6)Check this box when a multidistrict case is transferred into the distnct under authonty ofTitle 28 U.S.C.
         Section 1407.                                                                                                 .                      j i *
         Multidistrict Litigation -Direct File. (8)Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 BriefDescription: Unauthorized reception of cable service
VII. Requested in Complaint Class Action. Place an "X" in this box if you are filing a class action under Rule 23,F.R.Cv.P.
     Demand. In this space enter the actual dollar amount being demanded or indicate other demand,such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not ajuiy is being demanded.
VHI. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
         numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
